  Case 3:19-cv-00710 Document 271 Filed 09/06/22 Page 1 of 4 PageID #: 12659




                           UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF WEST VIRGINIA
                               HUNTINGTON DIVISION

    Jonathan R., minor by Next                        )
    Friend Sarah DIXON, et al.,                       )
                                                      )
                                                      )
                                     Plaintiffs,      )      Case No. 3:19-cv-00710
    v.                                                )
                                                      )
    Jim JUSTICE, in his official capacity as          )
    the Governor of West Virginia, et al.,            )
                                                      )
                                     Defendants.      )

PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF THEIR
MOTION FOR CLASS CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL

         Plaintiffs respectfully submit this notice of supplemental authority in support of their

Motion for Class Certification and Appointment of Class Counsel. (See ECF 130.) On August 17,

2022, the United States District Court for the District of Oregon granted class action status to a

lawsuit that, like this one, asserts constitutional and federal statutory claims against the state’s

child welfare agency on behalf of all foster children who are or who will be in its custody. Wyatt

B. v. Brown, No. 6:19-cv-00556 (AA), 2022 U.S. Dist. LEXIS 147091 (D. Or. Aug. 17, 2022)

(attached as Exhibit A). In addition to certifying a “General Class” of foster children, the Oregon

district court certified all three proposed subclasses, including an “ADA Subclass” consisting of

foster children with disabilities.

         Notably, the Oregon district court dismissed defendants’ assertions that plaintiffs had not

demonstrated that defendants acted with “deliberate indifference” and that the state had “been

actively working to improve the conditions for children in care.” Id. at *76-77. The district court

held that “Defendants’ argument conflates the requirements of commonality and typicality with a

‘mini-trial’ on the merits . . . and that district courts err if they deny class certification based on a
  Case 3:19-cv-00710 Document 271 Filed 09/06/22 Page 2 of 4 PageID #: 12660




premature assessment of the merits of the case.” Id. at *77. The court also declined to exclude

expert reports “detailing common DHS policy and practice failures based on a review of the

Named Plaintiffs’ case files.” Id. at *78.

        The district court found that plaintiffs satisfied Rule 23’s typicality and commonality

requirements and that typicality “does not require . . . that Named Plaintiffs be factually identical

to the absent members of the class or that they be . . . statistically representative of the proposed

class.” Id. at *95. Moreover, the district court found that the risk of harm—not actual harm—was

determinative of typicality. Id. Thus, the district court certified a class of foster children where

plaintiffs “demonstrated that the challenged policies and practices exist and that they expose

children in foster care to harm.” Id. at *97.

        Last, in finding that plaintiffs met the Rule 23(b)(2) requirements, the district court

dismissed defendants’ argument that in terms of requested relief, plaintiffs were “in effect seeking

thousands of individualized determinations,” finding that plaintiffs were “instead challenging

Defendants’ systemic failure” and “seek to remedy that failure through class-wide injunctive

relief.” Id. at *101.

        Plaintiffs respectfully request that the Court consider this Supplemental Authority when

rendering its decision regarding Plaintiffs’ Motion for Class Certification and Appointment of

Class Counsel.




                                                 2
  Case 3:19-cv-00710 Document 271 Filed 09/06/22 Page 3 of 4 PageID #: 12661




Dated: September 6, 2022            Respectfully submitted,

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                                       3
 Case 3:19-cv-00710 Document 271 Filed 09/06/22 Page 4 of 4 PageID #: 12662




                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA
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   Jonathan R., minor by Next                        )
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                                                     )
   Jim JUSTICE, in his official capacity as          )
   the Governor of West Virginia, et al.,            )
                                                     )
                                  Defendants.        )


                                CERTIFICATE OF SERVICE
        I, J. Alexander Meade, counsel for Jonathan R., et al., do hereby certify that on this 6th

day of September, 2022, I electronically filed the attached “Plaintiffs’ Notice of Supplemental

Authority in Support of Their Motion for Class Certification and Appointment of Class

Counsel” with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to the following counsel of record:

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                                                         /s/ J. Alexander Meade
                                                         J. Alexander Meade (WVSB #13021)




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